Case: 4:18-cr-00012-CDP-NCC Doc. #: 2 Filed: 01/10/18 Page: 1 of 1 PageID #: 4
                          0                               0
                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI                        \FILED
                                     EASTERN DIVISION
                                                                                  JAN   1. o· zorn
UNITED STATES OF AMERICA,                         )                             U. S. DIS'fR!CT COURT
                                                  )                           EASTERN DIS"l'BlCT OF MO
                                                                                       ST. LOUIS
                   Plaintiff,                     )
                                                  )
v.                                                )   No.
                                                  )
PHILANDIAS SAMUEL CALVIN,

                   Defendants.
                                                  \ 4:18CR012 CDP/NCC

                                          INDICTMENT

                                           COUNT ONE

The Grand Jury charges that:

          On or about December 6, 2017, in City of St. Louis within the Eastern District of

Missouri,

                                 PHILANDIAS SAMUEL CALVIN,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with persons designated in

Section 1114 of this title, while engaged in or on account of the performance of their official

duties.

     In violation of Title 18, United States Code, Section 11 l(a)(l).



                                                              A TRUE BILL.



                                                              FOREPERSON

JEFFREY B. JENSEN
United States Attorney


THOMAS J. MEHAN, #28958MO
Assistant United States Attorney
